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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
EDITH M FRIERSON                              )       CASE: A18-53729-JWC
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                             2.

       The Debtor has failed to provide to the Trustee a copy of the 2017 tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).

                                             3.

       The Trustee requests proof of income and proof of the Internal Revenue Service
offset of the 2017 tax refund in order to determine the accuracy and veracity of the plan
and/or Schedules. 11 U.S.C. Section 521(1), 11 U.S.C. Section 1325(a)(3), and 11 U.S.C.
Section 1325(b)(1)(B).

                                             4.

       After review of scheduled income and anticipated household expenses, Debtor’s
proposed budget may fail to provide sufficient funds for ordinary living expenses in
possible violation of 11 U.S.C. Section 1325(a)(6).

                                             5.

       The Debtor has failed to serve the Chapter 13 plan on applicable creditors pursuant
to Bankruptcy Rule 7004 and has failed to file the corresponding Certificate of Manner of
Service required by General Order 21-2017.
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                                             6.

        The Trustee cannot administer the proposed post-confirmation increase in creditor
set payments because the proposed increase date will occur before the attorney fees are
paid in full and thus the sum of the monthly set payments will exceed the proposed plan
payment.

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 19th day of April, 2018.
                                         Respectfully submitted,

                                         /s/__________________________________
                                         Maria C. Joyner
                                         Attorney for the Chapter 13 Trustee
                                         State Bar No. 118350
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                              CERTIFICATE OF SERVICE


Case No: A18-53729-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
EDITH M FRIERSON
1121 LUTHER DR SW
MABLETON, GA 30126



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 19th day of April, 2018.


/s/__________________________________
Maria C. Joyner
Attorney for the Chapter 13 Trustee
State Bar No. 118350
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
